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                Exhibit 10
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                             DEFENDANTS' RULE 30(B)(6) DEPOSITIONS

 DEPONENT                              DATE         DEFENDANT LOCATION
 Lee, Jae In (Vol I - II)                6/6/2012   Samsung SDI    San Francisco, CA
 Heiser, L. Thomas                       7/3/2012   Hitachi        Atlanta, GA
 Park, Choong Ryul                       7/9/2012   LG             San Francisco, CA
 Seong, Mok Hyeon                        7/9/2012   LG             San Francisco, CA
 Iwasawa, Toru                          7/11/2012   Hitachi        San Francisco, CA
 Lee, Yun Seok                          7/11/2012   LG             San Francisco, CA
 Morishima, Yasuhiro                    7/12/2012   Hitachi        San Francisco, CA
 Takeda, Yasuhisa                       7/12/2012   Hitachi        San Francisco, CA
 Kwon, Kyung Tae                        7/13/2012   LG             San Francisco, CA
 Nakano, Takashi                        7/13/2012   Panasonic      San Francisco, CA
 London, Kim                            7/16/2012   Samsung        New York, NY
 Tobinaga, Tatsuo (Vol I -II)           7/16/2012   Panasonic      San Francisco, CA
 Kobayashi, Nobuhiko                    7/17/2012   Hitachi        San Francisco, CA
 Nishiyama, Hirokazu (Vol I - II)       7/17/2012   Panasonic      San Francisco, CA
 Panosian, Steve                        7/17/2012   Samsung SDI    New York, NY
 Eguchi, Hiroshi                        7/18/2012   Hitachi        San Francisco, CA
 Kawashima, Yasuhiko (Vol I - II)       7/18/2012   Hitachi        San Francisco, CA
 Wolff, Edwin                           7/18/2012   Panasonic      San Francisco, CA
 Kimura, Masahiro                       7/19/2012   Panasonic      San Francisco, CA
 Kurosawa, Koji                         7/30/2012   Toshiba        Washington, D.C.
 DeMoor, Roger (Vol I - II)             7/31/2012   Philips        Washington, D.C.
 Heinecke, Jay Alan                     7/31/2012   TAEC           Washington, D.C.
 Huber, Richard                          8/1/2012   Toshiba        Washington, D.C.
 Uchiyama, Yoshiaki                      8/1/2012   Toshiba Corp   Washington, D.C.
 Rodriguez, Modesto                     8/23/2012   Hitachi        San Diego, CA
 Whalen, William                        8/23/2012   Hitachi        San Diego, CA
 Tsukamoto, Hitoshi (Vol I - II)        9/22/2014   Mitsubishi     Chicago, IL
 Hara, Kenzaburo (Vol II)               9/23/2014   Mitsubishi     Chicago, IL
 Tamba, Mio                             9/24/2014   Toshiba        Irvine, CA
 Nowicki, Robert                        10/9/2014   Panasonic      New York, NY
 Barrett, Patrick                       11/4/2014   Hitachi        Miami, FL
 Ehret, Meggan (Vol I - II)              1/8/2015   Thomson        Indianapolis, IN




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                     Case No. 3:07-cv-5944, MDL No. 1917
